 Fill in this information to identify your case:

 Debtor 1          MARCO ANTONIO GUTIERREZ
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of California
                                                      District of __________

 Case number         20-40780
                     ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                amended filing



                                  106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                                      725000
                                                                                                                                                                            $ ________________
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                        16220
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................                  741220
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                     2820247
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                     1217969
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +              59234
                                                                                                                                                                            $ ________________


                                                                                                                                       Your total liabilities                        4097540
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                        1586
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................
                                                                                                                                                                                       10039
                                                                                                                                                                            $ ________________




              Case: 20-40780
Official Form 106Sum
                                                   Doc# 26 Filed: 05/21/20 Entered: 05/21/20 09:56:21
                                                    Summary of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                                                        Page 1page
                                                                                                                                                                                of 1 of 2
                                                                                14
   Debtor 1         MARCO     ANTONIO GUTIERREZ
                     _______________________________________________________                                               20-40780
                                                                                                    Case number (if known)_____________________________________
                     First Name   Middle Name         Last Name




   Part 4:          Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       ‫ط‬      Yes


   7. What kind of debt do you have?

       ‫ط‬      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            1586
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                             Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)
                                                                                                                            81559
                                                                                                             $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         1217969
                                                                                                             $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                                  0
                                                                                                             $_____________________



       9d. Student loans. (Copy line 6f.)
                                                                                                                                  0
                                                                                                             $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0
                                                                                                             $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +                        0
                                                                                                             $_____________________



       9g. Total. Add lines 9a through 9f.                                                                               1299528
                                                                                                             $_____________________




                 Case: Summary
Official Form 106Sum
                       20-40780       Doc# 26 Filed: 05/21/20 Entered: 05/21/20 09:56:21
                               of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                      Page 2page
                                                                                                                                              of 2 of 2
                                                                        14
Fill in this information to identify your case and this filing:


Debtor 1          MARCO ANTONIO GUTIERREZ
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        __________
United States Bankruptcy Court for the: Northern District of California
                                                     District of ___________

Case number         20-40780
                    ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
    ‫ط‬    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 ‫ط‬   Single-family home                            the amount of any secured claims on Schedule D:
           3985 BOLINAS PLACE
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                                  1450000
                                                                                                                   $________________                725000
                                                                                                                                            $_______________
                                                                     Investment property
             DISCOVERY BAY CA 94505
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                           NEEDS $75,000 REPAIRS
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.   FEE SIMPLE
                                                                                                                   __________________________________________
             CONTRA COSTA
             _________________________________________
                                                                     Debtor 1 only
             County                                                  Debtor 2 only
                                                                                                                   ‫ط‬   Check if this is community property
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                       (see instructions)
                                                                 ‫ ط‬At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                                                 008-470-031
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                          Check if this is community property
                                                                   At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________

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Official Form 106A/B                                             Schedule A/B: Property
                                                                                14                                                                  page 1
Debtor 1       MARCO     ANTONIO GUTIERREZ
                _______________________________________________________                                                         20-40780
                                                                                                         Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                      Condominium or cooperative                           Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                            Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                  Debtor 1 only
            County
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                                                                               (see instructions)
                                                                      At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                           725000
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
   ‫ط‬   Yes


   3.1.     Make:                      KIA
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put

            Model:                     SEDONA
                                       ______________
                                                                  ‫ط‬   Debtor 1 only
                                                                                                                           the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                       2017                           Debtor 2 only
            Year:                      ____________                                                                        Current value of the      Current value of the
                                                                      Debtor 1 and Debtor 2 only
                                 100000
            Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                      At least one of the debtors and another
            Other information:
                                                                                                                                       5000                      5000
                                                                  ‫ ط‬Check if this is community property (see               $________________         $________________
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:                      ______________
                                                                      Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                      Debtor 2 only
           Year:                       ____________                                                                        Current value of the      Current value of the
                                                                      Debtor 1 and Debtor 2 only
                                                                                                                           entire property?          portion you own?
           Approximate mileage: ____________                          At least one of the debtors and another
           Other information:
                                                                      Check if this is community property (see             $________________         $________________
                                                                      instructions)




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                                                                   Schedule A/B: Property
                                                                                  14                                                                        page 2
Debtor 1        MARCO     ANTONIO GUTIERREZ
                 _______________________________________________________                                                                               20-40780
                                                                                                                                Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




           Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                            ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                            ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ‫ط‬    No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?

                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                             5000
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




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                                                                             Schedule A/B: Property
                                                                                            14                                                                                            page 3
Debtor 1          MARCO     ANTONIO GUTIERREZ
                   _______________________________________________________                                                                                          20-40780
                                                                                                                                             Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                             portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe. ........                                                                                                                                                                               2500
                                                                                                                                                                                               $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
   ‫ط‬    Yes. Describe. .........                                                                                                                                                                              5000
                                                                                                                                                                                               $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
      Yes. Describe. .........                                                                                                                                                                                    0
                                                                                                                                                                                               $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
   ‫ط‬    Yes. Describe. .........                                                                                                                                                                               200
                                                                                                                                                                                               $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   ‫ ط‬No
      Yes. Describe. ..........                                                                                                                                                                                   0
                                                                                                                                                                                               $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
   ‫ط‬    Yes. Describe. ..........                                                                                                                                                                             1800
                                                                                                                                                                                               $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No
   ‫ط‬    Yes. Describe. ..........                                                                                                                                                                             1000
                                                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
   ‫ط‬    Yes. Describe. ..........                                                                                                                                                                              200
                                                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   ‫ط‬    No
        Yes. Give specific                                                                                                                                                                                        0
                                                                                                                                                                                               $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                                 10700
                                                                                                                                                                                               $______________________
   for Part 3. Write that number here ....................................................................................................................................................


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                                                                                     Schedule A/B: Property
                                                                                                    14                                                                                                     page 4
Debtor 1         MARCO     ANTONIO GUTIERREZ
                  _______________________________________________________                                                                                                            20-40780
                                                                                                                                                              Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                    Current value of the
                                                                                                                                                                                                               portion you own?
                                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                                               or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       No
   ‫ط‬   Yes ................................................................................................................................................................   Cash: .......................                    100
                                                                                                                                                                                                                $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
       No
   ‫ط‬   Yes .....................                                                                 Institution name:


                                             17.1. Checking account:                             US BANK (WIFE)
                                                                                                 _________________________________________________________                                                                     150
                                                                                                                                                                                                                $__________________

                                             17.2. Checking account:                             _________________________________________________________                                                      $__________________

                                             17.3. Savings account:                              _________________________________________________________                                                      $__________________

                                             17.4. Savings account:                              _________________________________________________________                                                      $__________________

                                             17.5. Certificates of deposit:                      _________________________________________________________                                                      $__________________

                                             17.6. Other financial account:                      _________________________________________________________                                                      $__________________

                                             17.7. Other financial account:                      _________________________________________________________                                                      $__________________

                                             17.8. Other financial account:                      _________________________________________________________                                                      $__________________

                                             17.9. Other financial account:                      _________________________________________________________                                                      $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   ‫ط‬   No
       Yes .................                 Institution or issuer name:

                                             _________________________________________________________________________________________                                                                          $__________________
                                             _________________________________________________________________________________________                                                                          $__________________
                                             _________________________________________________________________________________________                                                                          $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   ‫ط‬   No                                    Name of entity:                                                                                                                  % of ownership:
       Yes. Give specific                    _____________________________________________________________________                                                             0%
                                                                                                                                                                              ___________%                      $__________________
       information about
       them.........................         _____________________________________________________________________                                                             0%
                                                                                                                                                                              ___________%                      $__________________
                                             _____________________________________________________________________                                                             0%
                                                                                                                                                                              ___________%                      $__________________




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                                                                                              Schedule A/B: Property
                                                                                                             14                                                                                                             page 5
Debtor 1        MARCO     ANTONIO GUTIERREZ
                 _______________________________________________________                                                       20-40780
                                                                                                         Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ‫ط‬   No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   ‫ط‬   No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:       ___________________________________________________________________        $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

       No
   ‫ط‬   Yes ..........................                         Institution name or individual:

                                        Electric:             PG&E
                                                              ______________________________________________________________________         $___________________
                                                                                                                                                                  150
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                TOWN OF DISCOVERY BAY
                                                              ______________________________________________________________________
                                                                                                                                             $___________________
                                                                                                                                                                  120
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ‫ط‬   No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________

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                                                                            Schedule A/B: Property
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Debtor 1        MARCO     ANTONIO GUTIERREZ
                 _______________________________________________________                                                            20-40780
                                                                                                              Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ‫ط‬   No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ‫ط‬   No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ‫ط‬   No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ‫ط‬   No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ‫ط‬   No
       Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ‫ط‬   No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ‫ط‬   No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________


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Debtor 1          MARCO     ANTONIO GUTIERREZ
                   _______________________________________________________                                                                                          20-40780
                                                                                                                                             Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    ‫ط‬   No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                   Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                   $__________________
                                                                     ___________________________________________ ____________________________                                                   $__________________
                                                                     ___________________________________________ ____________________________                                                   $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
    ‫ط‬   No
        Yes. Give specific information. .............
                                                                                                                                                                                                $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ‫ط‬   No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
    ‫ط‬   No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                $_____________________




35. Any financial assets you did not already list

    ‫ط‬   No
        Yes. Give specific information............
                                                                                                                                                                                                $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                       520
                                                                                                                                                                                                $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    ‫ط‬   No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

38. Accounts receivable or commissions you already earned

    ‫ط‬   No
        Yes. Describe .......
                                                                                                                                                                                              $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                 $_____________________


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Debtor 1         MARCO     ANTONIO GUTIERREZ
                  _______________________________________________________                                                                                          20-40780
                                                                                                                                             Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ‫ط‬    No
        Yes. Describe .......
                                                                                                                                                                                              $_____________________


41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                 $_____________________


42. Interests in partnerships or joint ventures
   ‫ط‬    No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%                $_____________________
                                         ______________________________________________________________________                                                      ________%                $_____________________
                                         ______________________________________________________________________                                                      ________%                $_____________________


43. Customer lists, mailing lists, or other compilations
   ‫ط‬    No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                               $____________________


44. Any business-related property you did not already list
   ‫ط‬    No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                           $____________________
        information .........
                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                     0
                                                                                                                                                                                               $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ‫ط‬    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   ‫ط‬    No
        Yes ..........................

                                                                                                                                                                                                $___________________


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                                                                                     Schedule A/B: Property
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 Debtor 1            MARCO     ANTONIO GUTIERREZ
                      _______________________________________________________                                                                                              20-40780
                                                                                                                                                    Case number (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48. Crops—either growing or harvested
     ‫ط‬     No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     ‫ط‬     No
           Yes ..........................
                                                                                                                                                                                                         $___________________

50. Farm and fishing supplies, chemicals, and feed

     ‫ط‬     No
           Yes ..........................
                                                                                                                                                                                                         $___________________

51. Any farm- and commercial fishing-related property you did not already list
     ‫ط‬     No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                         $___________________
                                                                                                                                                                                                                              0
     for Part 6. Write that number here ....................................................................................................................................................



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ‫ط‬     No
                                                                                                                                                                                                          $________________
           Yes. Give specific
           information. ............                                                                                                                                                                       $________________
                                                                                                                                                                                                           $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................
                                                                                                                                                                                                                           0
                                                                                                                                                                                                           $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................
                                                                                                                                                                                                                  725000
                                                                                                                                                                                                         $________________

56. Part 2: Total vehicles, line 5                                                                                  $________________
                                                                                                                                           5000

57. Part 3: Total personal and household items, line 15                                                             $________________
                                                                                                                                        10700

58. Part 4: Total financial assets, line 36                                                                         $________________
                                                                                                                                             520

59. Part 5: Total business-related property, line 45                                                                $________________
                                                                                                                                                  0

60. Part 6: Total farm- and fishing-related property, line 52                                                       $________________
                                                                                                                                                  0

61. Part 7: Total other property not listed, line 54                                                                              0
                                                                                                                + $________________
                                                                                                                                         16220                                                                       16220
62. Total personal property. Add lines 56 through 61. ....................                                          $________________ Copy personal property total                                      + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................
                                                                                                                                                                                                                    741220
                                                                                                                                                                                                         $_________________


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                                                                                         Schedule A/B: Property
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 Fill in this information to identify your case:

 Debtor 1          MARCO ANTONIO GUTIERREZ
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District
                                          __________       of California
                                                       District of __________

 Case number         20-40780
                     ___________________________________________                                                                                Check if this is an
  (If known)
                                                                                                                                                amended filing



                                  106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      CCP 704.730
                                                                                                                                 ____________________________
      description:
                             3985 Bolinas
                             _________________________       725000
                                                            $________________           ‫ط‬     50,000
                                                                                            $ ____________                       ____________________________
                                                                                            100% of fair market value, up to     ____________________________
      Line from
                    1                                                                       any applicable statutory limit       ____________________________
      Schedule A/B: ______

      Brief                                                                                                                      ____________________________
                             _________________________      $________________               $ ____________
      description:                                                                                                               ____________________________
                                                                                            100% of fair market value, up to     ____________________________
      Line from     ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      ____________________________
                             _________________________      $________________               $ ____________
      description:                                                                                                               ____________________________
      Line from                                                                             100% of fair market value, up to     ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


     Are you claiming a homestead exemption of more than $1                         ?
     (Subject to adjustment on 4/01/        and every 3 years after that for cases filed on or after the date of adjustment.)
      ‫ط‬    No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           ‫ط‬      No
                  Yes


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Official Form 106C                                          Schedule C: The Property                                                                           2
                                                                              14 You Claim as Exempt                                                 page 1 of __
Debtor 1     MARCO ANTONIO GUTIERREZ
             _______________________________________________________                                                  20-40780
                                                                                               Case number (if known)_____________________________________
             First Name        Middle Name       Last Name




 Part 2:    Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B
                                                                                                                        CCP 704.020
     Brief                                                                                                              ____________________________
     description:
                          FURNITURE
                          _________________________                  2500
                                                         $________________      ‫ ط‬$ ____________
                                                                                           2500
                                                                                                                        ____________________________
                   6                                                               100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
     description:
                          3 TVs
                          _________________________                  5000
                                                         $________________      ‫ ط‬$ ____________
                                                                                           5000                         ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     7
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
                          2 CHILDRENS BIKES
                          _________________________                   200
                                                         $________________      ‫ ط‬$ ____________
                                                                                            200
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     9
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
                          FAMILY CLOTHING
                          _________________________                  1800
                                                         $________________      ‫ ط‬$ ____________
                                                                                           1800
     description:                                                                                                       ____________________________
                   11                                                              100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief
                                                                                                                        CCP 704.040
                                                                                                                        ____________________________
                          RINGS/COSTUME J
                          _________________________                  1000
                                                         $________________      ‫ ط‬$ ____________
                                                                                           1000
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     12
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
                          2 CATS
                          _________________________                   200
                                                         $________________      ‫ ط‬$ ____________
                                                                                            200
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   13
                   ______                                                                                               ____________________________
     Schedule A/B:                                                                 any applicable statutory limit

     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
                          CASH
                          _________________________                   100
                                                         $________________      ‫ ط‬$ ____________
                                                                                            100
     description:                                                                                                       ____________________________
     Line from     16                                                              100% of fair market value, up to     ____________________________
                   ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief
                                                                                                                        CCP 704.020
                                                                                                                        ____________________________
                          US BANK ACCT/WIFE
                          _________________________                   150
                                                         $________________      ‫ ط‬$ ____________
                                                                                            150
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   17                                                                                                   ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from
                                                                                                                        ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

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